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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      Case No. 21-CR-87 (TJK)
                                               :
MICHAEL SPARKS et al,                          :
                                               :
                       Defendants.             :


                                   JOINT STATUS REPORT

       The United States, defendant Michael Sparks, and defendant Joseph Howe, by and through

their attorneys, jointly submit this status report addressing counsel for defendant Howe’s

appearance in this case.

       1.      Defendant Joseph Howe was arrested in the Western District of Kentucky on

October 28, 2022, and was indicted for the same conduct in the above-captioned matter on

November 9, 2022. Attorney William Bailey has represented defendant Howe since the date of

his arrest. Attorney Bailey has discussed the case with counsel for the United States and has been

given access to discovery, subject to the Protective Order. In addition, Attorney Bailey has

attended numerous hearings in this matter. To date, however, he has not entered an appearance

in the case, because, as he reports, he is not yet admitted to practice in the District of Columbia.

       2.      At a status hearing on February 17, 2023, this Court ordered counsel for defendant

Howe to enter an appearance by Friday, February 24, 2023 (the date of this status report).

       3.      Attorney Bailey reports that on February 24, 2023, he submitted a registration filing

for admission to the DC District Court Bar. PACER records provided by Attorney Bailey indicate

that he registered for an E-File PACER account, and that his status is currently “Pending.”

Attorney Bailey represents that he believes his admission will be processed and approved within

one to two business days. Counsel for the government has no additional information about
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Attorney Bailey’s ability to appear in this Court.

       4.      To ensure all parties have sufficient time to prepare for trial on May 10, 2023, the

parties request that this Court order defendant Howe to file a notice of appearance in the above-

captioned case no later than close of business on March 2, 2023.

       5.      In the event no notice of appearance has been filed by that date, the parties request

that the Court hold a video status conference on March 3, 2023, or another date convenient to the

Court, to address the status of representation for defendant Howe. At that status conference, the

parties request that both defendants be present via videoconference.

                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES
                                                 United States Attorney

                                                 /s/ Emily W. Allen
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